          Case 1:23-cr-00108-TSC Document 61 Filed 12/11/23 Page 1 of 4



                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

            v.                                          Case No.: 1:23-cr-00108-TSC

MICHAEL JOHN DILLON,

    Defendant.

                            DEFENDANT’S TRIAL EXHIBITS


    Ex.                          Description of
    No.                            Exhibit

     1     Slideshow of Photos of Defendant & Family or Friends

     2     CDU Operational Plan for the USCP

     3    OPR Interview with Inspector Robert Glover


     4    Staffers Walk Out Of Congress In Protest Over Brown And
          Garner Cases _ NCPR News
          DC-001-00000001[37]
     5


     6    THE TRUTH - Rally-goers walk into the Capitol - Capitol
          Police open the doors.

     7    Photo of Stop Pence and Trump Protest Flyer


     8     Schedule for Wednesday January 6th 2021


     9    Open Source Video Protestors 3
     Case 1:23-cr-00108-TSC Document 61 Filed 12/11/23 Page 2 of 4




10    U.S. Capitol Grounds Demonstration Area Map


11    USCP-011-00055405_image


12    Section: 24-705 FIRST AMENDMENT ASSEMBLIES:
      GENERAL PROVISIONS

13    USCPJanuary-6-Timeline[25142]


14    gao-22-104829[25148]


15    MPD-001-00000034[25146]


16    DC-FirstAmendment


17    USCPJan.6Timeline[25122]


     Open source video of J6 2
18

19   Open source video of J6 3

20    Open source video of J6 4                        Y
                                                       e

21    Open source video of J6 5                        Y
                                                       e
                                                       s
                                                       Y
22    Open Source Video of J6 6
                                                       e
                                                       s
23   Open source video of J6 7


24   5 Demonstration Permits for J6                    Y
                                                       e
                                                       s
                                                       Y
25    Crosstabs DC 011822[25099]
                                                       e
     Case 1:23-cr-00108-TSC Document 61 Filed 12/11/23 Page 3 of 4



                                                               Y
26    Pictures and Videos pertaining to #NWScaffoldCommander


27   Open Source Footage of Officer misconduct

28   Tomasula Footage

29   Reserved

     covering_riot_control_in_the_united_states_0 (1)          Y
30


31    EO_17_002- BWCs: Serious Uses of Force, Serious          Y
      Misconduct, and Critical or High-Profile
      Incidents
                                                               Y
32    Tear_Gas_and_Pepper_Spray_Guide_ENGLISH


33    Impact_Munitions_Guide_ENGLISH                           Y


                                                               Y
34    RiotID_Guide_ENGLISH


35    Letter from VP Pence                                     Y


36   rubber bullets from above 2.mp4

                                                               Y
37    Firing Rubber Bullets from above.mp4


38   Trump Supporters Stop Anarchists from Breaking US Capitol Y
     Windows


39   Open Source Video Protestors 1



40   Open Source Video Protestors 2



41   Photos and Videos regarding Pipe Bomb Suspect
           Case 1:23-cr-00108-TSC Document 61 Filed 12/11/23 Page 4 of 4



      42   Pictures and Videos pertaining to #redonredglasses



      43   Open source video of J6 1



      44   Capitol Police Manuals



      45   MAGA Map guide



      46   Pictures and Videos pertaining to #FenceCutterBulwark



      47   Montage of Protestor telling people to go to Capitol



      48   Videos from Bobby Powell



      49   Reserved



      50   Reserved




                                                6


/s/ JOHN M. PIERCE
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